                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In re Frank J. Slavik, III                                    Case No. 08-66353
f/d/b/a F & C Construction,                                   Chapter 7
                                                              Hon. Marci B. McIvor
                Debtor.
______________________________/

Astro Building Supplies, Inc.,

                     Plaintiff,

v.                                                            Adv. Pro. No. 08-5669

Frank J. Slavik, III
f/d/b/a F & C Construction,

                Defendant.
_______________________________/

     ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND
           DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        For the reasons set forth in an Opinion issued with this Order,

        IT IS HEREBY ORDERED that Defendant’s Motion for Summary judgment is

GRANTED;

        IT IS FURTHER ORDERED that Plaintiff’s Motion for Summary Judgment is

DENIED;

        IT IS FURTHER ORDERED the Plaintiff’s Complaint is DISMISSED.
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Signed on March 26, 2010
                                                           /s/ Marci B. McIvor
                                                        Marci B. McIvor
                                                        United States Bankruptcy Judge




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